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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Michal Fus
                            Plaintiff,
v.                                                 Case No.: 1:19−cv−06601
                                                   Honorable Andrea R. Wood
CafePress, Inc.
                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 30, 2020:


        MINUTE entry before the Honorable Andrea R. Wood: For the reasons stated in
the accompanying Memorandum Opinion and Order, Defendant's motion to dismiss [17]
is granted and Plaintiff's motion to strike the declarations submitted by Defendant in
support of its motion to dismiss [31] is denied. This case is dismissed without prejudice
for lack of subject−matter jurisdiction. Consequently, Defendant's motion to compel
arbitration [45] is denied as moot. All other pending motions and hearing dates are
stricken. The Clerk is directed to enter judgment in favor of Defendant. Civil case
terminated. Mailed notice (dal, )




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